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                          UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF ALABAMA
                                NORTHERN DIVISION



 DEMONTRAY HUNTER, by and through his
 next friend, Rena Hunter; RUSSELL D. SENN, by
 and through his next friend, Irene Senn; TRAVIS
 S. PARKS, by and through his next friend,
 Catherine
 Young; VANDARIUS S. DARNELL, by and
 through his next friend, Bambi Darnell; FRANK
 WHITE, JR., by and through his next friend, Linda
 White; MARCUS JACKSON, by and through his
 next friend Michael P. Hanle; TIMOTHY D.
 MOUNT, by and through his next friend, Dorothy
 Sullivan; HENRY P. MCGHEE, by and through              CASE NO. 2:16-cv-00798-MHT CSC
 his next friend, Barbara Hardy, individually and on
 behalf of all others similarly situated; and the
 ALABAMA           DISABILITIES           ADVOCACY         CLASS ACTION FOR
 PROGRAM,                                                 DECLARATORY AND
                                                           INJUNCTIVE RELIEF
       Plaintiffs,

 v.

 LYNN T. BESHEAR, in her official capacity as
 Commissioner of the Alabama Department of
 Mental Health,

       Defendant.



             JOINT MOTION TO EXTEND DEADLINES IN SCHEDULE
      FOR PREPARATION AND IMPLEMENTATION OF JOINT REMEDIAL PLAN

        The named Plaintiffs as class representatives, the Alabama Disabilities Advocacy Program,

and Lynn T. Beshear, Commissioner of the Alabama Department of Mental Health (hereinafter

“ADMH”), jointly submit this Motion to Extend the deadlines of the Schedule for Preparation and

Implementation of Remedial Plan contained in the Order on Joint Remedial Plan for


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Noncompliance with Consent Decree entered by this Court on April 12, 2019 (Doc. 125) as set

forth below:

      Deadline                                      Activity
    June 15, 2019  ADMH engages compliance consultant selected after consultation with
                   Plaintiffs
    July 17, 2019  Compliance consultant submits report outlining barriers to compliance
                   with the Consent Decree’s timelines for service provision, which is
                   shared with Plaintiffs within one business day
   August 1, 2019  Compliance consultant submits to defendant a remedial plan to address
                   compliance barriers outlined in consultant’s initial report, which is shared
                   with plaintiffs on the same day
   August 3, 2019  Parties meet and confer regarding the consultant’s remedial plan
  August 24, 2019  ADMH provides plaintiffs with amended remedial plan, if necessary
 September 1, 2019 Amendments to remedial plan, if any, are complete, and ADMH
                   implementation of remedial plan begins
 September 2, 2019 ADMH provides plaintiffs final version of remedial plan
  October 1, 2019  Implementation of remedial plan complete, and the plan is filed with the
                   court
  October 16, 2019 ADMH provides plaintiffs with a written status report on compliance
                   following implementation of remedial plan
 November 1, 2019 Parties meet and confer regarding status of compliance, if necessary
 November 15, 2019 Parties file joint status report regarding compliance with the consent
                   decree

The remaining portions of this Court’s Order on Joint Remedial Plan for Noncompliance with

Consent Decree (Doc. 125) not involving the aforementioned dates shall remain in full force and

effect. The amendments to the schedule set forth above are necessary because the Legislative

Contract Review Committee, which meets once monthly, must review the consultant’s contract

prior to its execution by the Governor.

Dated: May 9, 2019                    Respectfully submitted,

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                         Attorneys for Defendant Lynn T. Beshear




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                                CERTIFICATE OF SERVICE
       I, the undersigned, hereby certify that I have caused a true and correct copy of the
foregoing to be served on the counsel of record listed below by filing same with the Clerk of
Court via the CM/ECF system this 9th day of May, 2019.



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